The motion of defendant was to dissolve an order of restraint which had been granted in the cause. *Page 68 
The pleadings involved issues of fact. His Honor continued the injunction order until the hearing. Defendant appealed.
This case comes to this Court upon the appeal of the defendant from an order continuing the injunction to the hearing.
Upon examining the pleadings, we find issues of fact raised (97)  by allegations in the complaint and denied in the answer, that should be tried by a jury. If the allegations of the complaint, which are denied by the answer, should be found for the defendant, it would seem that such finding would substantially end the case. But if these issues should not be found in favor of the defendant, the facts in the case would be found and settled, and it would then be time enough to consider the important legal questions discussed on the argument. Therefore we are of the opinion that the injunction should be continued to the hearing.
The judgment appealed from is affirmed.
Cited: Harrington v. Rawls, 131 N.C. 40; Smith v. Parker, ib., 471.
(98)